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[Dodsmdef] [Dismissing for Deficiencies]




                                           ORDERED.
Dated: June 22, 2018




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                  Case No.
                                                                        8:18−bk−04643−RCT
                                                                        Chapter 7
Carmen L. Perez



________Debtor*________/

                                           ORDER DISMISSING CASE


   THIS CASE came on for consideration upon the Court's own motion. The Debtor has failed to file or
correct deficiencies in the item(s) indicated below by June 21, 2018 . The Court advised the Debtor of these
requirements in either a Notice of Deficient Filing or by separate order of the Court.

         Failure to file a master mailing matrix as required by Local Rule 1007−2(a)(1).

         Failure to file any or all Schedules A−J as required.

         Failure to file a properly signed Declaration Concerning Schedules.

         Failure to file a Summary of Assets.

         Failure to file a Statement of Your Monthly Income.

         Failure to file Statement of Financial Affairs.

         Failure to file the Statement about Your Social Security Number.

   Accordingly, it is ORDERED:

   1. The case is dismissed without a discharge.

   2. If the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect at the time this Order is
entered, the stay is extended for 14 days from the date of this Order, notwithstanding the provisions of 11
U.S.C. § 362(c)(2)(B).
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   3. If the Debtor(s) files a motion for relief from this Order within the 14−day period, the automatic stay
imposed by 11 U.S.C. § 362 and the stay of action against co−debtor by 11 U.S.C. § 1301 will remain in full
force and effect until the Court rules on the Motion as filed.

   4. All pending hearings are cancelled with the exception of any currently scheduled hearing on a Motion
for Relief from Stay or on an Order to Show Cause over which the Court reserves jurisdiction.

  5. The Debtor shall immediately pay to the Clerk, U.S. Bankruptcy Court, $ 0.00, by cashier's check or
money order, for the balance of the filing fee as required by 28 U.S.C. § 1930.

   6. The Trustee is discharged from any further duties.




Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
